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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 Esther Wilder,
                                                     Civ. Action No. 1:22-cv-01254-PKC
                        Plaintiff,

         v.

 Sarah Hoiland,

                        Defendant.


        SUPPLEMENTAL DECLARATION OF PROFESSOR ESTHER WILDER
        IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       I, Esther Wilder, pursuant to 28 USC Section 1746, declare under penalties of perjury:

       1.       I am the plaintiff in the above-referenced action and I have personal knowledge of

the facts set forth below.

       2.       I previously submitted a declaration in this matter (ECF No. 36), dated March 28,

2023, in support of my motion for summary judgment.

       3.       I make this Supplemental Declaration in further support of my motion for

summary judgment and in opposition to Defendant Sarah Hoiland’s (“Defendant”) motion for

summary judgment.

       4.       I am a tenured full professor in the Department of Sociology at Lehman College,

City University of New York (“CUNY”).

       5.       From 2011 through 2016, I was the Principal Investigator on a NSF grant,

Numeracy Infusion Course for Higher Education, NICHE. My leadership team for the NICHE

program had extensive experience in teaching numeracy and creating faculty development

programs.




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        6.       The NICHE Project involved many different components including: (1) the

creation of materials for an online faculty development program focused on QR; (2) the

implementation of these materials in an online faculty development program to train CUNY

faculty in best practices; (3) faculty development of instructional and assessment materials; and

(4) research on the effectiveness of the NICHE program.

        7.       As part of my duties at NICHE, I authored the majority of the instructions and

guidelines of the NICHE faculty development program. I am the owner of the copyright of most

of these materials. Under NSF policy, the author of the materials produced under a grant retains

the copyright in the materials.

        8.       The NICHE faculty development program was available to CUNY faculty

enrolled in the program on a password protected platform, Blackboard.

        9.       The materials on Blackboard included eight units.

        10.      Unit 1 provided an overview of what quantitative reasoning entailed and focused

on number sense and disciplinary numbers.

        11.      Unit 2 provided information on how to effectively create learning goals, including

practice activities for doing this.

        12.      Unit 3 focused on QR and the brain, and discussed the distinction between slow

thinking and fast thinking, information about cognitive loads, and included exercises designed to

promote an understanding of fast and slow thinking.

        13.      Unit 4 included material on QR and writing, including required links to the public

website, an assessment on QR and literature, and an activity reviewing student written work.

        14.      Unit 5 focused on discovery methods, which is an approach to teaching that uses

constructivist methods. This was illustrated using engaged activities.




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       15.     Unit 6 included materials designed to help faculty participants understand the

applicability of graphs and other visual representations of data by graphing stories and using

qualitative graphs.

       16.     Unit 7 provided an overview of learning assessment with engaged activities

designed to give faculty practical experience assessing learning.

       17.     Unit 8 addressed inequalities in numeracy (by gender, race/ethnicity) and focused

on helping faculty to understand ways to address stereotype threat and how one’s experience

impacts attitudes towards math and numeracy.

       18.     Unit 7H is the Copyrighted Work in this action, but the text included in Unit 7H

also appeared elsewhere in the NICHE instructional materials, including (a) twice in the NICHE

Tasks and Blogs section of Blackboard; (b) once in Unit 8G; and (c); and twice in the NICHE

wrap-up folder (Units N2 and N3).

       19.     The three core tasks for the faculty under NICHE were developing learning goals,

developing instructional materials, and developing assessment materials.

       20.     Certain materials relating to NICHE were made publicly available on the NICHE

website which I maintained. The materials on the NICHE website included readings relating to

the NICHE program, as well as the instructional and assessment materials the faculty created as

they went through the program. By and large, the units and definitely none of the NICHE core

assignments were available to the public on the NICHE website.

       21.     By and large, the materials in Blackboard—including the Copyrighted Work at

issue in this action—were designed for use within a closed community (e.g., under the guidance

of a well-trained instructor) and they did not lend themselves to public dissemination.




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       22.     In 2016, I was approached by an NSF Program Officer (PO) about applying for a

second grant for Hispanic Serving Institutions (HSIs) community colleges.

       23.     I reached out to two CUNY community college faculty about being a second PI

with me on the grant: Professor Kate Wolfe, a professor at Bronx Community College with

experience in QR faculty development, and Defendant, then working with Professor Wolfe on an

article on QR literacy, While I knew Professor Wolfe, who was the lead author on the article, I

had never met the Defendant before.

       24.     Defendant quickly responded to my solicitation before Professor Wolfe did, and

suggested she was the better candidate. I agreed with Defendant to add her as the second PI on

the NICE grant proposal.

       25.     I drafted the NICE grant proposal, and Defendant made minor editorial and

typographical and grammatical suggestions/changes to the draft.

       26.     The proposal was presented as a collaborative proposal with two budgets but one

project narrative. I recommended Defendant’s institution, Hostos Community College, to be lead

institution, in part for budgetary reasons.

       27.     Defendant and I were both PIs with equivalent, but different responsibilities. NSF

does not infer any distinction in stature among multiple PIs.

       28.     Although the collaborative proposal included two budgets, my experience as a

reviewer is that the NSF does not treat those grant proposals separately in determining whether

to award the collaborative proposal.

       29.     Because the NSF proposal for the NICE Project was a unified research project,

both Defendant and I were collaboratively responsible for ensuring that we adhered to the tasks

outlined in the NSF proposal. Nonetheless, that does not mean that we were equally expected to




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do every single task. We each had separate responsibilities we were expected to undertake as

outlined in the collaborative proposal. For example, as outlined in the proposal, Defendant was

expected to direct all qualitative data gathering research activities, including the qualitative data

gathering and research activities. Meanwhile, I was charged to direct research activities on the

quantitative assessment data gathered. Although Defendant was expected to conduct research

under the NSF proposal, for the most part, Defendant never carried out her research activities.

       30.     There were key differences between the NICHE Project and the NICE Project,

including that (i) the NICE Project’s research focus on comparing different instructional

approaches, which was not a focus of the NICHE Project; (ii) the NICHE Project’s leadership

consisted of three CUNY faculty who had extensive experience either teaching numeracy or

doing numeracy faculty development, whereas the NICE Project focused more on a mentoring

relationship between myself and Defendant; and (iii) in the NICHE Project, the leadership team

developed a set of instructional materials to train faculty in best practices for numeracy

instruction, whereas, in the NICE Project, the intention was that Defendant would contribute

materials (although she did not).

       31.     Because the NICE Project’s research focused on comparing different instructional

approaches, developing assessment materials was a key component of the Project.

       32.     As with NICHE, the NICE faculty development program for NICE was available

to the faculty enrolled in the program on the password protected platform, Blackboard.

       33.     I was also responsible for maintaining the NICE website. As with NICHE,

materials publicly available on the NICE website included readings relating to the NICE

program, as well as the instructional and assessment materials the faculty created as they went




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through the program. The units and definitely none of the NICE core assignments were available

to the public on the NICE website.

       34.     I had enrolled Defendant in the NICHE program to help her understand the

program. She was also enrolled in NICE. In addition to her other responsibilities as a PI on

NICE, Defendant created her own instructional and assessment materials.

       35.     As a member of the faculty enrolled in NICE, Defendant was familiar with what

was publicly available on the NICHE/NICE website. She knew that the NICE core assignments

were not publicly accessible, and was only to accessible to CUNY faculty on a password

protected Blackboard platform.

       36.     The NICE grant proposal made clear that only the publicly available material on

the website, such as the instructional and assessment material created by the CUNY faculty

enrolled in the program, and the research results on the effectiveness of the NICE program,

would be shared with faculty at institutions outside of CUNY.

       37.     I drafted the NICE grant proposal. It was never my intent, and I would never have

agreed, to Defendant making the NICE faculty development program, including the assessment

guidelines that I authored and for which I have a copyright registration, “widely available” at

national conferences.

       38.     The NICE grant proposal was not a transfer by me of a license of my intellectual

property rights in my copyrighted texts to Defendant, and I never intended to license my rights to

her to use anyway she wants. I would never have relinquished control of my copyrighted

material to her.

       39.     The broader goal of the NICE project was to undertake research on the

effectiveness of the program. To the extent that a goal of NICE was to help faculty beyond




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CUNY, it would necessarily have been materials developed over the course of the NICE Project,

namely the research results generated through the NICE Project.

        40.    Defendant was given access to the NICHE (NICE) instructional program,

including my Copyrighted Work, for the purpose of guiding the faculty and preparing her own

instructional materials, not to transfer my intellectual property rights.

        41.    Defendant’s travel budget included funds to speak at conferences about the NICE

program, not to reveal the actual units in the program accessible only to CUNY faculty.

        42.    Dr. Hoiland was expected to disseminate her own research results generated from

the NICE Project.

        43.    Defendant notified me in about July 2018 that she intended to present at the

CCLA Conference. I expected that Defendant would be presenting her own work at the CCLA

Conference. In addition to my relationship and prior interactions with Defendant (including the

copyright notice for the NICHE materials that I believed Defendant had viewed in her training

on the NICHE Project), my assumption was based on academic norms and well-established

policies. It is my understanding that there is a basic rule in academia: if you don’t contribute,

you must not distribute.

        44.    I declined Defendant’s purported invitation to co-present at the CCLA Conference

(which I did not view as a genuine invitation), for several reasons. Among other commitments, I

had childcare responsibilities that would have interfered with attending the February 17–19

conference in Florida, since my children had school scheduled in New York on two of those

days.

        45.    In 2019, I learned that the CCLA PowerPoint that Defendant presented at the

CCLA Conference copied my Copyrighted Work.




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       46.     In 2019, when I learned that Defendant had copied my Copyrighted Work without

my permission and without attribution, and had also copied material of another colleague without

her permission or attribution, I first attempted to resolve the issue with Defendant as amicably as

possible, while still imparting the severity of the situation.

       47.




       48.




       49.




       50.




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated: May 9, 2023                                     By:
                                                                  Esther Wilder




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